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United States District Court
Eastern District of New York                                      1:20-cv-00712

Tiffany Taylor, individually and on behalf
of all others similarly situated,
                                Plaintiff,

                  - against -                                       Complaint

Tipp Distributors, Inc.,
                                Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.     Tipp Distributors, Inc. (“defendant”) manufactures, distributes, markets, labels and

sells iced tea beverages purporting to be low in sugar under the Steaz brand (“Products”).

       2.     The Products are available to consumers from retail and online stores of third-parties

and are sold in in sizes including 16 OZ.

       3.     The relevant front label statements include “Lightly Sweetened,” “Steaz,” statement

of identity, Iced Green Tea – Peach, “flavored with other natural flavors” and a vignette of peaches.




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           4.    The representations are misleading because though being represented as low in sugar,

they actually contain objectively high amounts of sugar, as added sugar.


I.         Increasing Consumer Avoidance of Sugar and Sweetened Food and Beverages

           5.    In 2014, the National Institutes of Health cautioned: “experts agree that Americans

eat and drink way too much sugar, and it’s contributing to the obesity epidemic. Much of the sugar

we eat isn’t found naturally in food but is added during processing or preparation.”1

           6.    The NIH noted further: “[s]everal studies have found a direct link between excess

sugar consumption and obesity and cardiovascular problems worldwide.”2

           7.    There has long been a consensus among doctors and nutritionists that “[e]ating too

much sugar contributes to numerous health problems, including weight gain, Type 2 diabetes,

dental caries, metabolic syndrome and heart disease, and even indirectly to cancer because of


1
    NIH, Sweet Stuff: How Sugars and Sweeteners Affect Your Health, October 2014.
2
    Id.
                                                        2
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certain cancers’ relationship to obesity.”3

        8.     In addition, “there is emerging research that suggests high-sugar diets may increase

the risk of developing [dementia].”4

        9.     At least in part due to growing consumer awareness of health problems caused by

excessive sugar consumption, in recent years consumers have shown a distinct preference for

products with little or no added sugar.

        10.    In August 2016, a trade journal reported that “[o]ngoing concerns about obesity and

sugar intake have driven interest in reduced sugar and diet drinks in recent years.”5

        11.    A May 2017 essay observed that “[h]ealth concerns and better educated consumers

are propelling the demand for sugar reduction across food and beverage categories.”6

        12.    According to lecturers at the International Sweetener Colloquium in Orlando, Florida

in February, 2018, “ on February 13, “sugar avoidance was a macro trend ‘that is here to stay and

will only increase.’”7

        13.     This conclusion was supported by survey data showing that “58% of consumers

across generations are avoiding sugar. . . [and of] those avoiding sugar, 85% are doing so for health

reasons and 58% for weight concerns.”8


II.     Nutrition Authorities Promote Limited Consumption of Added Sugars

        14.    The 2015-2020 Dietary Guidelines for Americans (“DGA”) recommended that



3
  Marlene Cimons, Eating too much sugar can hurt your health, and for some it’s actually addictive, Washington Post
December 16, 2017.
4
  Kieron Rooney, Yes, too much sugar is bad for our health – here’s what the science says, The Conversation, March
8, 2018.
5
  PreparedFoods.com, Trends in Sugar Reduction and Natural Sweeteners, August 24, 2016.
6
  Laura Dembitzer, Less is More: Sugar Reduction, Less Sodium & Low-FODMAPS in Food, Beverage, Food Insider
Journal, May 09, 2017.
7
  Ron Sterk, Avoidance of sugar remains macro trend, Food Business News, February 28, 2018
8
  Id., citing survey conducted by Information Resources, Inc. (“IRI”).
                                                        3
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added sugar make up no more than 10 percent of all calories consumed per day.9

        15.    Based on an average of 2,000 calories per day, this means the maximum daily amount

of added sugars should not exceed 200 calories or 50 grams of sugar.

        16.    The FDA adopted the DGA limits on added sugars and “concluded that there is

strong and consistent evidence that healthy dietary patterns characterized, in part, by lower intakes

of sugar sweetened foods and beverages relative to less healthy patterns, are associated with a

reduced risk of CVD (Cardiovascular disease).”10

        17.    To promote the consumption of less sugar – through less added sugar – the FDA

required that a product’s added sugars be displayed with a percent daily value (DV) in a food.

        18.    For example, if a product contained 10 grams of added sugar, it would provide 20%

of the DV.

        19.    By providing more and clearer information, consumers would have the tools to be

more aware of and limit their added sugar consumption.


III.    Implied Nutrient Content Claims of “Low Sugar” are Prohibited and Can Be Misleading

        20.    Low sugar products are generally marketed towards consumers seeking products that

are useful in “weight control,” through consumption of fewer calories. See N. J. Patterson et al.,

“Consumer understanding of sugar claims on food and drink products,” Nutrition bulletin, 37.2

(2012): 121-130 (“In focus groups, participants felt deceived if sugar reduction claims were being

made without a significant reduction in calories.”).

        21.    Representations that characterize the level of a nutrient are specifically limited and



9
  2 U.S. Health & Human Servs., U.S. Dept. of Agriculture, Dietary Guidelines for Americans 2015-2020, 8th Ed.
(Dec. 2015).
10
   Center for Science in Public Interest, Letter to FDA Requesting Enforcement Action on Unauthorized Low Sugar
Claims, January 9, 2020.
                                                      4
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can only be made in accordance with an authorizing regulation. 21 U.S.C. § 343(r)(2)(A); see 21

C.F.R. § 101.13 (“general principles”); see also 21 C.F.R. §§ 101.54-101.69 (“Subpart D—

Specific Requirements for Nutrient Content Claims”).

       22.    Nutrient content claims for sugar were originally in a section of regulations for

“dietary foods” as 21 C.F.R. § 105.66 originally included “terms such as low calorie, ‘reduced

calorie,’ and ‘sugar free,’ which were thought to be useful attributes of a food in the maintenance

or reduction of body weight.” 56 Fed. Reg. 229, 60421 at 60457, Food Labeling: Nutrient Content

Claims, General Principles, Petitions, Definition of Terms (Nov. 7, 1991) (21 CFR Parts 5, 101,

and 105); FDA, Guidance for Industry and FDA: Dear Manufacturer Letter Regarding Sugar Free

Claims, Sept. 2007 (“FDA has historically taken the position that consumers may associate claims

regarding the absence of sugar with weight control and with foods that are low calorie or that have

been altered to reduce calories significantly.”).

       23.    As “maintaining a healthy body weight became more scientifically supported and

accepted as public health and individual goals, it was no longer accurate that they [lower and

reduced sugar foods] be described in connection with “special dietary uses.” 56 Fed. Reg. 229,

60421 at 60457 (“Consequently, the agency is proposing to place requirements for terms such as

‘low’ and ‘reduced calorie,’ comparative claims, and sugar claims, originally provided for in §

105.66, in § 101.60”).

       24.    Though the FDA has authorized claims for the absence of sugar and calories (“no

sugar,” “calorie free”) and relative amount of calories and sugar (“fewer calories,” “less sugar”),

no similar claims are permitted for describing a product as “low sugar.” See 21 C.F.R. § 101.60(c)

(“Sugar content claims”).




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                                        Calorie Claims11      Sugar Claims12
                             Absence    No Calories           No Sugar
                             Relative   Fewer Calories        Less Sugar
                             Low        Low Calories          X

           25.    The FDA regularly prevents companies from making “low sugar” claims because

they have the strong tendency to mislead, and do mislead, consumers:

           The labeling for your “Fruit of the Spirit” product, located on the website [url
           omitted] contains the nutrient content claim “Low sugar.” While FDA has defined
           some nutrient content claims for sugar in 21 CFR 101.60(c), FDA has not defined
           “Low sugar”; therefore, the use of this claim misbrands your product under section
           403(r)(1)(A) of the Act. The claim “lower sugar" may be used…”).

             FDA, Warning Letter to CK Management, Inc., May 19, 2015.


           26.    Label claims “about the calorie or sugar content of a food may only be made” if such

claim “uses one of the terms defined in this section in accordance with the definition for that term.”

See 21 C.F.R. § 101.60(a) and 21 C.F.R. § 101.60(a)(1).

           27.    This means that because “low sugar” claims have never been authorized, they are

prohibited. 58 Fed. Reg. 2302, 2368 (“The agency stated that under the provisions of the statute,

such implied claims are prohibited until they are defined by FDA by regulation.”).

           28.    The Product’s use of “Lightly Sweetened” to describe its sugar content is thus

prohibited because this term – and its implication of “low sugar” – are not defined by regulation.

See 21 C.F.R. § 101.60(c).


IV.        Products Make Misleading Sugar Claims

           29.    When consumers observe the Products’ front-label representation of “Lightly



11
     21 C.F.R. § 101.60(b)
12
     21 C.F.R. § 101.60(c)
                                                      6
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Sweetened” claim, they will be misled to believe the Products are lower in sugar and added sugar

than they are.

        30.    Far from being “lightly sweetened” and low in sugar or low in added sugar, sugar is

the second most predominant ingredient in the Product by weight.




                          INGREDIENTS: FILTERED WATER, CANE
                          SUGAR†*,   LEMON   JUICE†,   NATURAL
                          FLAVORS (PEACH & OTHER), GREEN TEA.

        31.    According to CSPI, even though the “FDA has not issued regulations defining ‘low

sugar’ or ‘low added sugar,’ the “upper thresholds for ‘low xxx’ claims characterizing levels of

fat, saturated fat, cholesterol, and sodium range from 5 to 7 percent of the DV for the relevant

nutrient, per RACC.”13

        32.    The Product’s Nutrition Facts reveals it contains 20 grams of total sugar and 20

grams of added sugar.




13
  Center for Science in Public Interest, Letter to Letter to FDA Requesting Enforcement Action on Unauthorized Low
Sugar Claims, January 9, 2020.
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           33.      The Products are not only “high” in added sugars (40% DV) but can be considered

“high” in total sugars.

           34.      This is because regulations permitting “‘high’ claims – nutrient content claims

characterizing high levels of a nutrient – to be used, provided that the food contains at least 20

percent of the DV per RACC.”14

           35.      Since the Products contain 15 grams of sugar per RACC of 360 mL, which is thirty

percent of the DV for added sugars, “exceed[ing] 20 percent of the DV for added sugars per

RACC,” they are “not only not ‘low’ in added sugars, but [is] actually ‘high’ in added sugars

according to FDA’s standard definition for ‘high in’ claims.”15

           36.      The result of the Product’s low sugar, “lightly sweetened” claim is the false

impression to consumers they are low in sugar including added sugar.

           37.      Consumers are “misled to believe they are following the DGA’s advice and

‘selecting beverages low in added sugars,’ even as they consume beverages that are actually high


14
     CSPI Letter.
15
     Id. at p. 6.
                                                    8
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in added sugars.”

           38.    By consuming the Products and the 40% DV of added sugar, the average person who

wishes to follow the DGA must consume no more than 30 grams of sugar across 1,920 calories

(2,000 calories – 80 calories).

           39.    It will be difficult to impossible for the average, reasonable consumer to not consume

more than 30 grams of sugar in everything else they eat or drink because many foods and beverages

have added sugars, albeit in much smaller amounts than the Products here.

           40.    Given that most Americans have limited numeracy skills, it is not feasible to ensure

no more than 30 grams of sugar are consumed, because this would entail detailed calculations after

each food to see how many calories and added grams of sugar they should take in.

           41.    To represent a product as “lightly sweetened” that contains almost half of

recommended daily added sugar intake poses “a specific risk of harm to consumers seeking to

lower their sugar consumption, including those with diet-related diseases, such as Type 2

diabetes.16

           42.    No requirement exists to compel the Products to represent or allude to their sugar

content through the term “Lightly Sweetened” on the front label, as opposed to the requirement it

be present in the Nutrition Facts, so added sugar can be viewed next to the percent DV.


V.         Conclusion

           43.    Defendant’s branding and packaging of the Products are designed to – and does –

deceive, mislead, and defraud consumers.

           44.    Defendant has sold more of the Products and at higher prices per unit than it would




16
     CSPI Letter, supra citing FDA.
                                                     9
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 have in the absence of this misconduct, resulting in additional profits at the expense of consumers.

        45.   The amount of sugar or other caloric sweetening ingredients has a material bearing

 on price or consumer acceptance of the Products because their absence causes consumers to pay

 more for such Products.

        46.   The value of the Product that plaintiff purchased and consumed was materially less

 than its value as represented by defendant.

        47.   Had plaintiffs and class members known the truth, they would not have bought the

 Products or would have paid less for it.

        48.   The Product contains other representations which are misleading and deceptive.

        49.   As a result of the false and misleading labeling, the Product is sold at a premium

 price, approximately no less than $2.49 per unit, excluding tax, compared to other similar products

 represented in a non-misleading way.

                                       Jurisdiction and Venue


        50.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

 of 2005 or “CAFA”).

        51.   Under CAFA, district courts have “original federal jurisdiction over class actions

 involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

 diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

        52.   Upon information and belief, the aggregate amount in controversy is more than

 $5,000,000.00, exclusive of interests and costs.

        53.   Plaintiff is a citizen of New York.

        54.   Defendant is a Texas corporation with a principal place of business in El Paso, El

 Paso County, Texas and is a citizen of Texas.
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         55.   This court has personal jurisdiction over defendant because it conducts and transacts

 business, contracts to provide and/or supply and provides and/or supplies services and/or goods

 within New York.

         56.   Venue is proper because plaintiff and many class members reside in this District and

 defendant does business in this District and State.

         57.   A substantial part of events and omissions giving rise to the claims occurred in this

 District.

                                                  Parties

         58.   Plaintiff is a citizen of Flushing, Queens County, New York.

         59.   Defendant Tipp Distributors, Inc. is a Texas corporation with a principal place of

 business in El Paso, Texas, El Paso County.

         60.   During the relevant statutes of limitations, plaintiff purchased the Product within this

 district and/or State for personal consumption in reliance on the representations.

                                          Class Allegations


         61.   The classes will consist of all purchasers of the Products in New York, the other 49

 states and a nationwide class where applicable, during the applicable statutes of limitations.

         62.   Common questions of law or fact predominate and include whether defendant’s

 representations were and are misleading and if plaintiff and class members are entitled to damages.

         63.   Plaintiff's claims and basis for relief are typical to other members because all were

 subjected to the same unfair and deceptive representations and actions.

         64.   Plaintiff is an adequate representative because her interests do not conflict with other

 members.

         65.   No individual inquiry is necessary since the focus is only on defendant’s practices

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 and the class is definable and ascertainable.

        66.    Individual actions would risk inconsistent results, be repetitive and are impractical

 to justify, as the claims are modest relative to the scope of the harm.

        67.    Plaintiff's counsel is competent and experienced in complex class action litigation

 and intends to adequately and fairly protect class members’ interests.

        68.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                                        New York GBL §§ 349 & 350
                                  (Consumer Protection from Deceptive Acts)

        69.    Plaintiff incorporates by reference all preceding paragraphs.

        70.    Plaintiff and class members desired to purchase, consume and use products or

 services which were as described and marketed by defendant and expected by reasonable

 consumers, given the product or service type.

        71.    Defendant’s acts and omissions are not unique to the parties and have a broader

 impact on the public.

        72.    Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

 because it gives the impression to consumers the Products are low in sugar when they have

 significant amounts of added sugar and make it difficult for consumers to follow the Dietary

 Guidelines for Americans to restrict calories from added sugars and to consume beverages that are

 actually low in sugar.

        73.    Plaintiff and class members would not have purchased the Products or paid as much

 if the true facts had been known, suffering damages.

                                        Negligent Misrepresentation

        74.    Plaintiff incorporates by reference all preceding paragraphs.

        75.    Defendant misrepresented the substantive, quality, compositional, organoleptic
                                                  12
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 and/or nutritional attributes of the Products through representing they are low in sugar when they

 have significant amounts of added sugar and make it difficult for consumers to follow the Dietary

 Guidelines for Americans to restrict calories from added sugars and to consume beverages that are

 actually low in sugar.

        76.      Defendant had a duty to disclose and/or provide non-deceptive marketing of the

 Products and knew or should have known same were false or misleading.

        77.      This duty is based on defendant’s position as an entity which has held itself out as

 having special knowledge and experience in the production, service and/or sale of the product or

 service type.

        78.      The representations took advantage of consumers’ (1) cognitive shortcuts made at

 the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

        79.      Plaintiff and class members reasonably and justifiably relied on these negligent

 misrepresentations and omissions, which served to induce and did induce, the purchase of the

 Products.

        80.      Plaintiff and class members would not have purchased the Product or paid as much

 if the true facts had been known, suffering damages.

              Breaches of Express Warranty, Implied Warranty of Merchantability and
                    Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

        81.      Plaintiff incorporates by reference all preceding paragraphs.

        82.      Defendant manufactures and sells Products that give the impression they are low in

 sugar when they have significant amounts of added sugar and make it difficult for consumers to

 follow the Dietary Guidelines for Americans to restrict calories from added sugars and to consume

 beverages that are actually low in sugar.

        83.      The Products warranted to plaintiff and class members that they possessed
                                                   13
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 substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

 other attributes which they did not.

        84.   Defendant had a duty to disclose and/or provide non-deceptive descriptions and

 marketing of the Products.

        85.   This duty is based, in part, on defendant’s position as one of the most recognized

 companies in the nation in this sector.

        86.   Plaintiff provided or will provide notice to defendant, its agents, representatives,

 retailers and their employees.

        87.   Defendant had received or should have been aware of the misrepresentations due to

 numerous complaints by consumers to its main office over the past several years.

        88.   The Products did not conform to their affirmations of fact and promises due to

 defendant’s actions and were not merchantable.

        89.   Plaintiff and class members would not have purchased the Products or paid as much

 if the true facts had been known, suffering damages.

                                               Fraud


        90.   Plaintiff incorporates by references all preceding paragraphs.

        91.   Defendant represented the Products are low in sugar when they have significant

 amounts of added sugar and make it difficult for consumers to follow the Dietary Guidelines for

 Americans to restrict calories from added sugars and to consume beverages that are actually low

 in sugar.

        92.   Defendant’s fraudulent intent is evinced by its failure to accurately identify the

 Products on the front label.

        93.   Plaintiff and class members would not have purchased the Products or paid as much
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 if the true facts had been known, suffering damages.

                                             Unjust Enrichment

        94.    Plaintiff incorporates by reference all preceding paragraphs.

        95.    Defendant obtained benefits and monies because the Products were not as

 represented and expected, to the detriment and impoverishment of plaintiff and class members,

 who seek restitution and disgorgement of inequitably obtained profits.

                                    Jury Demand and Prayer for Relief

 Plaintiff demands a jury trial on all issues.

     WHEREFORE, Plaintiff prays for judgment:

    1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

        as counsel for the class;

    2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

        challenged practices to comply with the law;

    3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

        representations, restitution and disgorgement for members of the State Subclasses pursuant

        to the applicable laws of their States;

    4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

        to the common law and other statutory claims;

    5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

        experts; and

    6. Other and further relief as the Court deems just and proper.

 Dated: February 9, 2020
                                                                 Respectfully submitted,

                                                                 Sheehan & Associates, P.C.
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                                                  /s/Spencer Sheehan
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 1:20-cv-00712
 United States District Court
 Eastern District of New York

 Tiffany Taylor, individually and on behalf of all others similarly situated,


                                          Plaintiff,


          - against -


 Tipp Distributors, Inc.,


                                           Defendant




                                             Complaint



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                             Tel: (516) 303-0552
                             Fax: (516) 234-7800




 Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
 New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
 under the circumstances, the contentions contained in the annexed documents are not frivolous.

 Dated: February 9, 2020
                                                                           /s/ Spencer Sheehan
                                                                            Spencer Sheehan
